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                    R20IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

 v.                                            Criminal Action No. 2:14-cr-20-3

 CHRISTINA LEE KIMBLE,
       Defendant.

                     OPINION/REPORT AND RECOMMENDATION
                    REGARDING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Christina Lee Kimble, in person and by counsel, Thomas Dyer, appeared before me on December

 15, 2014. The Government appeared by Stephen Warner, its Assistant United States Attorney. The

 Court determined that Defendant was prepared to enter a plea of “Guilty” to Count Nineteen of the

 Indictment.

        The Court proceeded with the Rule 11 hearing by first placing Defendant under oath.

        The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

 asked the Government to tender the original to the Court. The Court asked counsel for the

 Government if the agreement was the sole agreement offered to Defendant. The Government

 responded that it was and counsel for Defendant confirmed the same. The Court asked counsel for

 the Government to summarize the written plea agreement. Defendant stated that the agreement as

 summarized by counsel for the Government was correct and complied with her understanding of the

 agreement. The Court ORDERED the written plea agreement filed.

        The Court then inquired of Defendant whether she was a citizen of the United States.

 Defendant responded that she is a citizen. The undersigned asked Defendant whether she understood

 that if she were not a citizen of the United States, by pleading guilty to a felony charge she would
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 be subject to deportation at the conclusion of any sentence; that she would be denied future entry into

 the United States; and that she would be denied citizenship if she ever applied for it. Defendant

 stated that she understood.

        The Court inquired of Defendant concerning her understanding of her right to have an Article

 III Judge hear the entry of her guilty plea and her understanding of the difference between an Article

 III Judge and a Magistrate Judge. Defendant stated in open court that she voluntarily waived her

 right to have an Article III Judge hear her plea and voluntarily consented to the undersigned

 Magistrate Judge hearing her plea, and tendered to the Court a written Waiver of Article III Judge

 and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver and consent was signed

 by Defendant and countersigned by Defendant’s counsel and was concurred in by the signature of

 the Assistant United States Attorney appearing.

        Upon consideration of the sworn testimony of Defendant, as well as the representations of

 her counsel and the representations of the Government, the Court finds that the oral and written

 waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

 voluntarily given and the written waiver and consent was freely and voluntarily executed by

 Defendant, Christina Lee Kimble, only after having had her rights fully explained to her and having

 a full understanding of those rights through consultation with her counsel, as well as through

 questioning by the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty

 Plea before a Magistrate Judge filed and made part of the record.

        The undersigned then reviewed with Defendant Count Nineteen of the Indictment and the

 elements the Government would have to prove, charging her with possession of pseudoephedrine

 to be used in the manufacture of methamphetamine, in violation of 21 U.S.C. § 841(c)(2). The



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 undersigned then reviewed with Defendant the statutory penalties applicable to an individual

 adjudicated guilty of the felony charges contained in Count Nineteen of the Indictment, the impact

 of the sentencing guidelines on sentencing in general, and inquired of Defendant as to her

 competency to proceed with the plea hearing. From said review the undersigned Magistrate Judge

 determined Defendant understood the nature of the charge pending against her and understood the

 possible statutory maximum sentence which could be imposed upon her conviction or adjudication

 of guilty on that charge was imprisonment for a term of not more than twenty (20) years; understood

 that a fine of not more than $250,000.00 could be imposed; understood that both fine and

 imprisonment could be imposed; understood she would be subject to a period of up to three (3) years

 of supervised release; and understood the Court would impose a special mandatory assessment of

 $100.00 for the felony conviction payable on or before the date of sentencing. She also understood

 that her sentence could be increased if she had a prior firearm offense, violent felony conviction, or

 prior drug conviction. She also understood she might be required by the Court to pay the costs of

 her incarceration and supervised release.

        The undersigned also reviewed with Defendant her waiver of appellate and collateral attack

 rights as follows:

 Ct.    Now, under your agreement, you have some waivers. I’m going to go over those with you.

        First of all, do you understand that under 18 U.S.C. § 3742, you have a right to appeal your

        sentence, your conviction, and how that sentence was calculated and imposed to the Fourth

        Circuit Court of Appeals provided that you give notice of intent to appeal within 14 days of

        sentencing?

 Def.   Yes, sir.


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 Ct.    Do you further understand that you may file a motion collaterally attacking your sentence and

        challenging how it’s being carried out, commonly called a habeas corpus motion, under the

        various habeas statutes, including 28 U.S.C. § 2255?

 Def.   Yes, sir.

 Ct.    Do you understand that if you receive a sentence quote “consistent with Guideline offense

        level 21 (after the anticipated 2 levels downward in November, 2014, or lower,” then you

        waive your right to directly appeal that to the Fourth Circuit and you give up your right to

        collaterally attack or challenge that sentence by filing a habeas corpus-type motion under 28

        U.S.C. § 2255?

 Def.   Yes, sir.

 Ct.    Do you further understand that the only thing you’re reserving to yourself is a right to raise

        in a writ of habeas corpus type motion, any prosecutorial misconduct or any ineffective

        assistance of counsel that you discover exists after today’s date?

 Def.   Yes, sir.

 Ct.    And by that I mean, you’re telling us in this agreement that you don’t know of any ineffective

        assistance of counsel as you sit here today, do you?

 Def.   No, sir.

 Ct.    You don’t know of any prosecutorial misconduct that exists today as you sit here today?

 Def.   No, sir.

 Ct.    Do you?

 Def.   No.




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 Ct.    So, if you never discover that there’s any prosecutorial misconduct, if you never discover that

        there’s any ineffective assistance of counsel after today, then you’ve completely waived your

        rights under 28 U.S.C. § 2255. Do you understand that?

 Def.   Yes, sir.

 Ct.    Did you intend to give up your valuable direct appeal rights under 18 U.S.C. § 3742 and your

        collateral attack rights under 28 U.S.C. § 2255 as set forth in your plea agreement?

 Def.   Yes, sir.

 Ct.    And you understood that paragraph when you signed the agreement?

 Def.   Yes, sir.

 Ct.    Has anything changed about your understanding of it since you signed the agreement and

        today?

 Def.   No, sir.

        From the colloquy, the undersigned determined that Defendant understood her appellate and

 collateral attack rights and knowingly gave up those rights pursuant to the condition contained in the

 written plea agreement.

        The undersigned Magistrate Judge further examined Defendant relative to her knowledgeable

 and voluntary execution of the written plea bargain agreement, and determined the entry into said

 written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant.

 The undersigned then inquired of Defendant regarding her understanding of the written plea

 agreement. Defendant stated she understood the terms of the written plea agreement and also stated

 that it, along with the two representations discussed above, contained the whole of her agreement

 with the Government and promises or representations were made to her by the Government or other


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 persons, including her own attorney, other than those terms contained in the written plea agreement

 and the two oral representations discussed above.

        The undersigned Magistrate Judge further inquired of Defendant, her counsel, and the

 Government as to the non-binding recommendations and stipulation contained in the written plea

 bargain agreement and determined that Defendant understood, with respect to the plea bargain

 agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count

 Nineteen of the Indictment, the undersigned Magistrate Judge would write the subject Report and

 Recommendation and would further order a pre-sentence investigation report be prepared by the

 probation officer attending the District Court. The undersigned advised the Defendant that the

 District Judge would adjudicate the Defendant guilty of the felony charged under Count Nineteen

 of the Indictment. Only after the District Court had an opportunity to review the pre-sentence

 investigation report, would the District Court make a determination as to whether to accept or reject

 any recommendation or stipulation contained within the plea agreement or pre-sentence report. The

 undersigned reiterated to the Defendant that the District Judge may not agree with the

 recommendations or stipulation contained in the written agreement. The undersigned Magistrate

 Judge further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the

 event the District Court Judge refused to follow the non-binding recommendations or stipulation

 contained in the written plea agreement and/or sentenced her to a sentence which was different from

 that which she expected, she would not be permitted to withdraw her guilty plea. Defendant

 acknowledged her understanding and Defendant maintained her desire to have her plea of guilty

 accepted.




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        Defendant also understood that her actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted. The undersigned also advised,

 and Defendant stated that she understood, that the Sentencing Guidelines are no longer mandatory,

 and that, even if the District Judge did not follow the Sentencing Guidelines or sentenced her to a

 higher sentence than she expected, she would not have a right to withdraw her guilty plea.

 Defendant further stated her attorney showed her how the advisory guideline chart worked but did

 not promise her any specific sentence at the time of sentencing. Defendant stated that she understood

 her attorney could not predict or promise her what actual sentence she would receive from the

 sentencing judge at the sentencing hearing. Defendant further understood there was no parole in the

 federal system, although she may be able to earn institutional good time, and that good time was not

 controlled by the Court, but by the Federal Bureau of Prisons.

        Usually, the Court would hear the testimony of a Government witness to provide an

 independent basis in fact for Defendant’s plea. However, the parties stipulated that the Government

 would provide a proffer to support such an independent basis in fact. The Government proffered that

 on August 14, 2012, Special Agent Gene Smithson interviewed Defendant. She indicated that the

 first time she had witnessed members of the conspiracy manufacture methamphetamine was in April

 2012. That occurred behind co-defendant Shawn White’s residence. Defendant purchased Claritin-

 D once for a “Michael” and purchased it on other occasions for her husband to give to “Michael.”

 The group paid her $40 per box of Claritin-D, which contains pseudoephedrine. A review of

 Defendant’s NPLEX and West Virginia Board of Pharmacy records reveal that between April and

 July 2012, Defendant purchased pseudoephedrine seven (7) times at five (5) different pharmacies,

 never visiting the same pharmacy twice. Defendant often purchased the 3.6 gram box of


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 pseudoephedrine. Defendant attempted to purchase pseudoephedrine an eighth time, but the

 purchase was blocked because she was over the state limit. Specifically, on July 14, 2012,

 Defendant purchased pseudoephedrine at the Rite Aid in Marlinton, West Virginia, within the

 Northern District of West Virginia. That purchased forms the basis of Count Nineteen.

        Defendant stated she heard, understood, and did not disagree with the Government’s proffer.

 The undersigned United States Magistrate Judge concludes the offense charged in Count Nineteen

 of the Indictment is supported by an independent basis in fact concerning each of the essential

 elements of such offense. That independent basis is provided by the Government’s proffer.

        Defendant, Christina Lee Kimble, with the consent of her counsel, Thomas Dyer, proceeded

 to enter a verbal plea of GUILTY to the felony charge in Count Nineteen of the Indictment.

        Upon consideration of all of the above, the undersigned Magistrate Judge finds that

 Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

 understood her right to have an Article III Judge hear and accept her plea and elected to voluntarily

 consent to the undersigned United States Magistrate Judge hearing her plea; Defendant understood

 the charges against her, not only as to the Indictment as a whole, but in particular as to Count

 Nineteen of the Indictment; Defendant understood the consequences of her plea of guilty, in

 particular the maximum statutory penalty to which she would be exposed; Defendant made a

 knowing and voluntary plea of guilty to Count Nineteen of the Indictment; and Defendant’s plea is

 independently supported by the Government’s proffer, which provides, beyond a reasonable doubt,

 proof of each of the essential elements of the charge to which Defendant has pled guilty.




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         The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to Count

 Nineteen of the Indictment herein be accepted conditioned upon the Court’s receipt and review of

 this Report and Recommendation.

         The undersigned further directs that a pre-sentence investigation report be prepared by the

 adult probation officer assigned to this case.

         Defendant is released pursuant to the Order Setting Conditions of Release to be entered in

 this matter.

         Any party may, within fourteen (14) days after being served with a copy of this Report and

 Recommendation, file with the Clerk of the Court written objections identifying the portions of the

 Report and Recommendation to which objection is made, and the basis for such objection. A copy

 of such objections should also be submitted to the Honorable John Preston Bailey, Chief United

 States District Judge. Failure to timely file objections to the Report and Recommendation set forth

 above will result in waiver of the right to appeal from a judgment of this Court based upon such

 report and recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir.

 1984), cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas

 v. Arn, 474 U.S. 140 (1985).

         The Clerk of the Court is directed to send a copy of this Report and Recommendation to

 counsel of record.

         Respectfully submitted this 16th day of December, 2014.

                                                      John S. Kaull
                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE




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